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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 CRISTOSAL HUMAN RIGHTS, et al.,

                 Plaintiffs,

        v.                                                Civil Action No. 25 - 857 (LLA)

 PETER MAROCCO, et al.,

                 Defendants.



                                             ORDER

       On April 4, 2025, the court issued an order, see ECF No. 18-1, granting the plaintiff’s

motion for a preliminary injunction in Aviel v. Gor, No. 25-CV-778. In light of that order, which

appears to grant all the preliminary relief requested by Plaintiffs in this action, it is hereby

ORDERED that Plaintiffs shall show cause, on or before 5:00 p.m. on Monday, April 7, 2025,

whether the court is required to rule on Plaintiffs’ Motion for a Preliminary Injunction, ECF No. 6,

or whether the parties may proceed directly to expedited summary judgment briefing, in which

case they should confer with the parties in Aviel and propose a joint briefing schedule on or before

April 9, 2025.

       SO ORDERED.




                                                     LOREN L. ALIKHAN
                                                     United States District Judge
Date: April 4, 2025
